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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE


In re:                                                                Chapter 11

AMERIFIRST FINANCIAL, INC., et al.,                                   Case No. 23-11240 (TMH)

                                   Debtors.1                          (Jointly Administered)


DEBTORS’ (I) OBJECTION TO RETENTION OF KASOWITZ BENSON TORRES LLP
AS COUNSEL TO THE OFFICIAL COMMITTEE OF UNSECURED CREDITORS AND
 (II) MOTION TO DISQUALIFY KASOWITZ FROM REPRESENTING COMMITTEE




1
    The Debtors, along with the last four (4) digits of each Debtor’s federal tax identification number are:
    Phoenix 1040 LLC (2550); and AmeriFirst Financial, Inc. (4557). The location of Debtor AmeriFirst Financial,
    Inc.’s principal place of business and the Debtors’ service address in these chapter 11 cases is 1550 McKelleps
    Road, Suite 117, Mesa, Arizona 85203.



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                 Debtors AmeriFirst Financial, Inc. (“AFI”) and Phoenix 1040 LLC (“Phoenix” and

collectively with AFI, the “Debtors”) in the above-captioned chapter 11 cases hereby (1) object

(the “Objection”) to the application (the “Application”) of the Official Committee of Unsecured

Creditors (the “Committee”) to retain Kasowitz Benson Torres LLP (“Kasowitz”) as special

litigation counsel [Docket No. 212] and (2) move (the “Motion”) for the entry of an order

disqualifying Kasowitz from such representation, and granting related relief. In support of the

Objection and Motion, the Debtors respectfully represent as follows:

                                        Jurisdiction and Venue

                 1.       The United States District Court for the District of Delaware has jurisdiction

over this matter pursuant to 28 U.S.C. § 1334, which was referred to the United States Bankruptcy

Court for the District of Delaware (the “Court”) under 28 U.S.C. § 157 pursuant to the Amended

Standing Order of Reference from the United States District Court for the District of Delaware,

dated February 29, 2012. This matter is a core proceeding within the meaning of 28 U.S.C.

§ 157(b)(2).

                 2.       The Debtors confirm their consent pursuant to Rule 9013-1(f) of the Local

Rules of Bankruptcy Practice and Procedure of the United States Bankruptcy Court for the District

of Delaware (the “Local Rules”) to the entry of a final order by the Court in connection with this

Motion to the extent that it is later determined that the Court, absent consent of the parties, cannot

enter final orders or judgments in connection herewith consistent with Article III of the United

States Constitution.

                 3.       Venue in this district is proper pursuant to 28 U.S.C. §§ 1408 and 1409.

                 4.       The Motion is grounded upon Rules 1.6, 1.7, and 1.9 of the ABA Model

Rules of Professional Conduct (the “Model Rules”) made applicable by Local Rule 9010-1(f), 11




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U.S.C. § 105, and the inherent power of the court to supervise the professional conduct of attorneys

appearing before it. United States v. Miller, 624 F.2d 1198, 1201 (3d Cir. 1980); In re Corn

Derivatives Antitrust Litig., 748 F.2d 157, 160 (3d Cir. 1984).

                                        Preliminary Statement

                 5.       Kasowitz represented AFI prior to (and until at least) the Petition Date. The

Committee’s proposed retention of Kasowitz without AFI’s consent (and, indeed, over AFI’s

objection) therefore subjects the Debtors to advocacy against their positions or interests by its own

prepetition counsel on matters substantially related to Kasowitz’s proposed representation of the

Committee. Kasowitz’s adverse representation plainly violates the Bankruptcy Code and ethical

rules, and compromises Client Confidences (defined herein) and the Debtors’ attorney-client

privilege.

                 6.       This Court should not validate the unprecedented attempt by a law firm to

represent a creditors’ committee immediately after it represented the debtor on substantially related

matters—particularly where the debtor vigorously objects. The Application should be denied and

Kasowitz should disqualified from representing the Committee or any other party-in-interest in

these Cases.


                                              Background

A.      AFI’s Bankruptcy Filing

                 7.       On August 24, 2023 (the “Petition Date”), the Debtors each filed petitions

for relief under chapter 11 of the Bankruptcy Code (the “Chapter 11 Cases”). The Debtors are

authorized to continue to operate their business and manage their properties as debtors in

possession pursuant to sections 1107(a) and 1108 of the Bankruptcy Code. The Chapter 11 Cases




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are being jointly administered for procedural purposes only pursuant to Bankruptcy Rule 1015(b)

and Local Rule 1015-1. No trustee or examiner has been appointed in the Chapter 11 Cases.

                    8.       Prior to the Petition Date, AFI was a closely held independent mortgage

corporation as to which its owners pledged their stock as collateral for debt to certain of their

lenders. Following a nationwide decline in residential mortgage lending, AFI’s annual combined

loan originations and income from loan sales dropped precipitously. Based on events of default by

AFI under certain of its prepetition loans, on the Petition Date, the administrative agent for certain

secured lenders exercised its rights by, among other matters, effectuating a sale under its stock

pledge, removing and replacing certain directors of AFI (including a replacement made by adding

an independent director to address any conflicts), and otherwise transferring control of AFI to

Phoenix.

                    9.       Additional factual background regarding the Debtors, including the events

precipitating the filing of the Chapter 11 Cases, is set forth in the Declaration of T. Scott Avila in

Support of First Day Motions [Docket No. 20] and the Declaration of T. Scott Avila in Support of

Additional First Day Motions [Docket No. 76], and incorporated herein by reference.2

B.         Kasowitz Represented AFI Prior to the Petition Date

                    10.      On December 19, 2022 (more than eight months before the Petition Date),

AFI engaged Kasowitz to analyze potential claims against its prepetition secured lender,

Reverence Capital Partners (“RCP”), who was itself a former client of Kasowitz.3 Between




2
    Capitalized terms used but not defined herein shall have the meanings ascribed to them in the First Day Declaration.
3
    See Application at Stein Declaration, Schedule 2.


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December 2022 and May 2023, Kasowitz invoiced approximately $400,0004 in fees in connection

with its representation of AFI, although it appears the majority of the billing entries concerned

matters beyond the investigation of potential claims against RCP, including the negotiation of the

Prepetition Credit Agreement, Limited Waiver, Settlement Agreement, and Pledge Agreement (the

“Settlement Agreement”).5

                 11.      After the Settlement Agreement and related documents were finalized,

Kasowitz continued to represent AFI on other financing matters in June and July 2023. For

example, Kasowitz’s invoice dated July 31, 2023 reflects time spent on “customers

issues/strategy,” “customers approval,” “S&D issue,” and “warehouse lines.”6                      Kasowitz’s

invoices reflect that Edward Filusch (“Filusch”), a partner in Kasowitz’s New York office, was

the primary billing partner.7

                 12.      On August 21, 2023—just three days before the Petition Date—AFI and

Kasowitz entered into a second engagement agreement pursuant to which AFI agreed to pay

Kasowitz a retainer of $2 million to serve as special litigation counsel for the purpose of continuing

to investigate potential claims against RCP.

                 13.      As a result of Kasowitz’s continuous representation of AFI from December

2022 through the Petition Date, Kasowitz obtained a wide range of the Debtors’ confidential

information, mental impressions, and strategies (hereafter, “Client Confidences”).8

4
  Kasowitz extended a 20% discount off of its standard hourly rates to AFI such that AFI was billed only 80% of
that amount. See December 19, 2021 Engagement Letter, attached hereto as Exhibit A; Kasowitz Invoices, attached
hereto as Exhibit B.
5
  See Exh. B.
6
  See Exh. B.
7
  See Exh. B.
8
  To the best of the Debtors’ knowledge, the attorney-client relationship between AFI and Kasowitz was never
formally terminated.


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C.      The Committee’s Formation and Selection of Kasowitz

                 14.      On September 15, 2023, the Office of the United States Trustee filed its

Notice of Appointment of Creditors’ Committee [Docket No. 122] appointing the Committee.

                 15.      On September 19, 2023, the Committee selected Kasowitz as proposed

counsel to the Committee, and on September 20, 2023, the Committee selected Morris, Nichols,

Arsht & Tunnell LLP (“MNAT”) as proposed co-counsel to the Committee.9

                 16.      Kasowitz never sought (let alone obtained) AFI’s waiver of the obvious

conflict of interest before pitching the Committee, and the Debtors have never consented to

Kasowitz’s representation of the Committee or the use of its Client Confidences by Kasowitz for

any purpose.

                 17.      On September 21, 2023, Matthew Stein of Kasowitz emailed Debtors’

counsel, copying Filusch, and advised that Kasowitz had been selected to represent the Committee,

stating: “We [Kasowitz], together with Rob Dehney, have been selected by the official committee

of unsecured creditors to represent it in AmeriFirst.”10 As set forth below, Debtors’ counsel

immediately (and thereafter repeatedly) protested that Kasowitz’s representation of the Committee

created a conflict of interest and otherwise violated ethical rules.

                 18.      On September 27, 2023, the Committee filed its Committee Statement

purporting to clarify the proposed scope of Kasowitz’s role as “special litigation counsel to the

Committee to investigate and determine whether the estate has viable claims against . . . [the



9
  Statement of the Official Committee of Unsecured Creditors Concerning the Debtors’ First Day Motions and
Requesting Status Conference [Docket No. 171] (the “Committee Statement”) at ¶ 3.
10
   Email dated 9/21/23, attached hereto as Exhibit C.


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Proposed DIP Lenders] or other non-debtors in these Chapter 11 Cases.”11 Notably, however (and

consistent with Kasowitz’s actual conduct following the Petition Date as described herein), the

pleading’s signature block does not reflect such a purportedly limited role, but instead identifies

Kasowitz and Filusch (and MNAT) generally as proposed counsel for the Committee.

                   19.      On October 4, 2023, the Committee filed the Application seeking to employ

Kasowitz for a long litany of broad purposes subject only to an overriding restriction about which

the Application is unclear. In the body of the Application, Kasowitz’s proposed role is listed as

follows:

           Subject to further order of the Court, the Committee requests the retention and employment
           of Kasowitz for rendering the following necessary legal services required in this case,
           including, among others:
                   (a) advising the Committee with respect to its rights, duties and powers in these
                   Chapter 11 Cases;
                   (b) assisting the Committee in analyzing whether potential claims exist against non-
                   Debtor third parties and pursuing recoveries in connection therewith;
                   (c) investigating, as directed by the Committee, among other things, valuation,
                   assets, liabilities, and financial condition of the Debtors, transactions with non-
                   Debtor third parties, the Debtors’ prepetition and post-petition management, and
                   operational issues concerning the Debtors;
                   (d) advising the Committee with respect to the Debtors’ proposed first-day relief,
                   including whether such relief relates to or impacts potential claims against non-
                   Debtor third parties; advising the Committee with respect to post-petition financing
                   and/or restructuring transactions; communicating with the Committee’s
                   constituents in furtherance of its responsibilities, including, but not limited to,
                   communications required under section 1102 of the Bankruptcy Code; and
                   (e) perform such other legal services as may be required or are otherwise deemed
                   to be in the interests of the Committee in accordance with the Committee’s powers
                   and duties as set forth in the Bankruptcy Code, Bankruptcy Rules, or other
                   applicable law, consistent with the scope of its representation.




11
     Committee Statement at ¶ 3.


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                 For the avoidance of doubt, notwithstanding anything that may be perceived as
                 stating otherwise, Kasowitz will not take any action that is adverse to the Debtors
                 or their respective estates.

Application at 9. Yet, although the Declaration of Matthew Stein includes a similar description, it

ends with a different superseding provision that offers almost no limitation at all, by providing that

Kasowitz’s role can include any of the broad listed purposes so long as the work would concern

or be related to litigation against any non-Debtor third party: “For the avoidance of doubt, and as

noted above, Kasowitz will limit its work that concerns ore (sic) relates to litigation against non-

Debtor third parties.” Application at 25.

                 20.      This proposed scope of services is extremely general in nature and far more

consistent with a scope of services to be provided by general bankruptcy counsel than special

litigation counsel.


D.      The Debtors Demand Kasowitz’s Withdrawal Based on Conflict

                 21.      Before this matter was discussed during the September 29, 2023 status

conference, Debtors’ counsel repeatedly (a) advised Kasowitz that the Debtors would not consent

to their representation of the Committee, and (b) sought written assurances that MNAT would not

share Client Confidences with the Committee or with Kasowitz, all to no avail:

                          a.     On September 23, 2023, Debtors’ counsel informed Kasowitz that

its representation of the Committee raised a conflict of interest. In response, and contrary to its

representation in their introductory email, Kasowitz stated that its representation would be limited

to acting as special litigation counsel.

                          b.     On September 24, 2023, Debtors’ counsel advised that it was

prepared to produce documents regarding prepetition loans and related issues only to MNAT, and



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would do so on a professional-eyes-only basis on the condition that such documents would not be

shared with Kasowitz or the Committee pending a resolution of conflict issues.12

                           c.       On September 25, 2023, Debtors’ counsel sent 37 compressed files

to MNAT (only) comprised of prepetition RCP loan documents and lien search results, advising

that the documents should not be shared with Kasowitz. Debtors’ counsel also responded to

MNAT’s substantive questions regarding the Debtors.

                           d.       On September 26, 2023, Kasowitz flatly rejected Debtors’ counsel’s

provision of documents subject to restrictions on Kasowitz’s access, and denied the existence of a

conflict. Instead, Kasowitz acknowledged its prior representation of AFI and insisted that its role

“would be limited to negotiations with the Debtors and would not take an adverse position on any

issue in any pleading.”13

                  22.      As of September 26, 2023 (and thus before the September 29, 2023 status

conference discussed below), Kasowitz had already taken adverse positions against the Debtors,

including, without limitation, challenging the Debtors’ ability to file the Chapter 11 Cases.14

Debtors’ counsel responded to Kasowitz on September 26:

                  As discussed over the weekend, your firm has a conflict here, so we will
                  not address any substantive case matters with you regarding the case.

                  Kasowitz actively represented AmeriFirst until just before the Petition Date,
                  then challenged the ability of the Debtors to file these cases after the Petition
                  Date, and now is purporting to represent the Committee in matters that are
                  directly adverse to the Debtors. Kasowitz possesses privileged information
                  that belongs to AmeriFirst. Further, Kasowitz does not have AmeriFirst’s
                  consent to represent the Committee. As your email below reflects, you are

12
   Email dated 9/24/23, attached hereto as Exhibit D.
13
   Email dated 9/26/23, attached hereto as Exhibit E.
14
   Email dated 8/24/23, attached hereto as Exhibit F.


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                    already taking positions that are adverse to the Debtors. Indeed, as far as
                    we can tell, it is unprecedented for prepetition counsel to a debtor to then
                    seek to represent an unsecured creditors’ committee post-petition,
                    particularly over the former client’s (the debtor’s) objection. Indeed,
                    Kasowitz’s engagement letters with AmeriFirst have not even been
                    terminated.

                    We will respond separately and in due course to Morris Nichols’
                    requests for information. We demand that Kasowitz not share any
                    privileged information of AmeriFirst with either the Committee or
                    Morris Nichols. If any such sharing has already occurred, please advise as
                    to the specific nature of any disclosures so that the Debtors can consider
                    taking appropriate action. We will be sending a separate demand for
                    Kasowitz to promptly deliver its entire client file with AmeriFirst, including
                    all privileged information, to us.

Email dated 9/26/23, attached hereto as Exhibit G (emphasis added).

                    23.      On the same day, September 26, 2023, Debtors’ counsel sent responsive

documents to MNAT and twice thereafter on September 27, 2023 requested confirmation from

MNAT that it would not share additional documents with Kasowitz. MNAT refused and responded

by advising that Debtors’ counsel “cannot dictate what the UCC does or who they hire.”15

                    24.      On September 29, 2023, the Court held a status hearing during which

Debtors’ counsel advised the Court that Kasowitz’s representation of the Committee creates a

conflict of interest and violates Kasowitz’s ethical obligations to AFI. Nevertheless, Kasowitz (a)

continues to deny a conflict of interest exists; (b) fails to acknowledge its continuing duty of

confidentiality to the Debtors, and (c) refuses to withdraw (instead, filing its retention application),

necessitating the filing of this Objection and Motion.

E.         Kasowitz’s Adverse Advocacy

                    25.      Without AFI’s consent (and, indeed, over AFI’s objections), Kasowitz is

communicating on behalf of the Committee, holding itself out as co-counsel to the Committee,



15
     Email dated 9/26/23, attached hereto as Exhibit G.


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and, apparently, communicating with counsel to AFI’s former owners. All of these actions ignore

the firm’s profound conflict of interest, and highlight the untenable situation Kasowitz has created

because there is no way for the Debtors (or anyone else) to police Kasowitz’s conduct and protect

its Client Confidences.

                 26.      Notably, Kasowitz began taking positions adverse to the Debtors’ interests

before the Committee was even formed. On the Petition Date, Kasowitz (via Filusch) advised

counsel for the prepetition lenders that the petitions were all “void”:

                 [F]or the avoidance of doubt, it is our position that your EOD [event of
                 default], Resolutions, petitions, are all void given RCP’s prior EOD. We
                 will, of course, respond to the notices in due course; however, in the interim,
                 we do not recognize these as valid legally.

Exhibit F (emphasis added). Presumably, Kasowitz was acting on behalf of AFI’s former Chief

Executive Officer, Eric Bowlby, and other displaced shareholders since the Debtors never

authorized this communication and it was contrary to the Debtors’ objectives.

                 27.      Further, Kasowitz is now working on the Committee’s expected opposition

to the Debtors’ proposed financing (“DIP Financing”) motion [Docket No. 21]. See Committee

Statement. Disturbingly, e-mails show that Filusch—the Kasowitz partner who lead the firm’s

pre-petition representation of AFI—is actively involved in this matter. Filusch filed a pro hac vice

motion in order to represent the Committee in this case [Docket No. 209].

                 28.      On September 26, 2023, Matthew Stein of Kasowitz emailed Debtors’

counsel, copying Filusch and others, and insisted that ten categories of documents be shared

immediately with the Committee in connection with the proposed DIP Financing. Such demands

were, and are, clearly outside of Kasowitz’s purported role as “special litigation counsel.” See

Exhibit E.




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                 29.      On October 2, 2023, and despite Kasowitz reiterating to the Court at the

September 29, 2023 status conference hearing that it would be limiting itself to a special counsel

role, the comments of the Committee concerning the proposed scheduling and protective order in

respect of the September 29, 2023 status conference were emailed to Debtors’ counsel and others

by Matthew Stein of Kasowitz. See Exhibit I.

                                    Objection and Relief Requested

                 30.      By this Objection and Motion, the Debtors respectfully request that the

Court enter an order: (a) denying the Application; (b) disqualifying Kasowitz from serving as

counsel to the Committee or to any person or entity whose interests are adverse to the Debtors; (c)

directing Kasowitz to immediately turnover to the Debtors all files and records relating to its

representation of the Debtors, including, without limitation, emails and, particularly, emails with

the former owners or their separate counsel, the Committee, or MNAT; and (d) granting the Debtor

such other and further relief as the Court deems just and proper.

                                                 Argument

                 31.      Kasowitz must be disqualified and its retention application under

Bankruptcy Code section 1103 denied because its employment by the Committee would violate

two fundamental precepts of the legal profession: (1) without client consent, lawyers must

maintain as confidential “all information relating to the representation, whatever its source” as to

both current and former clients (with limited exceptions not applicable here);16 and (2) without




16
  See MRPC r. 1.6, comments 2 and 3, and r. 1.9(c)(2); In re Harman, 628 N.W. 2d 351 (Wis. 2001); In re Meridian
Auto. Systems-Composite Operations Inc., 340 B.R. 740, 747 (Bankr. D. DE 2006) (counsel to informal creditors
committee disqualified due to related prior creditor representation).


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client consent, a lawyer cannot represent (a) a party adverse to its current client,17 or (b) another

person in a substantially related matter materially adverse to the interests of its former client.18

                    32.       Here, Kasowitz must be disqualified and its retention application denied

because its continued employment by the Committee would assure the continued, impermissible

disclosure and use of Client Confidences by Kasowitz in violation of ethical rules and its duties to

AFI. This already is evident due to (a) the fact of Kasowitz’s extensive communications with

parties adverse to AFI (its client or former client), (b) its advocacy and pursuit—over AFI’s

objection—of the same purported lender liability claims against the proposed DIP lenders that it

investigated on behalf of AFI, and (c) the nature of such claims as being most assuredly heavily

factual in nature.

                    33.       Kasowitz’s representation of the Committee also is impermissible due

to AFI’s lack of consent thereto, which is required to preserve Kasowitz’s duties of loyalty and

confidentiality to AFI, and the public’s confidence in the integrity of the bar. This is so even if

AFI is a former client because the two representations are “substantially related” and Kasowitz’s

representation of the Committee is materially adverse to AFI. Specifically, Kasowitz’s actual and

proposed work in questioning the DIP Financing involves the same lenders with which, and debt

as to which, it negotiated for AFI prepetition, and the claims that Kasowitz proposes to investigate

and pursue are the same claims that were a subject of Kasowitz’s representation of AFI. These

circumstances make these representations “substantially related,” and Kasowitz’s advocacy in

questioning the DIP Financing and pursuing the DIP Lenders highlights Kasowitz’s materially

adversity to AFI’s interests, particularly to AFI’s goal of obtaining DIP financing from these DIP

lenders.


17
     See MRPC, r 1.7.
18
     See MRPC, r. 1.9(a).


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                 34.      Although the Committee is obviously entitled to oppose the Debtors’

positions as to the DIP Financing and alleged claims, Kasowitz, without AFI’s consent, cannot be

the firm to advise the Committee and must be disqualified based on its prior representation and

receipt of Client Confidences. It is early in these cases and Kasowitz’s representation of the

Committee has just begun. Although, when Kasowitz is disqualified, the Committee will not have

the benefit of Kasowitz’s knowledge of AFI’s Client Confidences, that outcome is mandated by

clear ethical rules that cannot be ignored.

                 35.      For the reasons set forth herein, the Court should deny the Application and

grant the Motion to disqualify Kasowitz as Committee counsel.

A.      Committee’s Application to Retain Kasowitz Must Be Denied

                 36.          The Application must be denied because AFI, a client of Kasowitz, is

materially adverse to the Committee and does not consent to Kasowitz’s representation of the

Committee, and because Kasowitz’s employment would result in a continuing violation of

Kasowitz’s duties.        Specifically, Kasowitz’s employment violates basic, long-standing, and

unambiguous standards of professional conduct embedded in both the Bankruptcy Code and

applicable ethical rules.

                 37.          The Committee seeks to be retained pursuant to section 1103 of the

Bankruptcy Code, which provides, in relevant part:

        (a) . . . with the court’s approval, [the] committee may select and authorize the
            employment . . . of one or more attorneys . . . to represent or perform services
            for such committee.

        (b) An attorney . . . employed to represent a committee . . . may not, while employed
            by such committee, represent any other entity having an adverse interest in
            connection with the case. Representation of one or more creditors of the same
            class as represented by the committee shall not per se constitute the
            representation of an adverse interest.

11 U.S.C. § 1103(a) and (b).


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                 38.          Relatedly, under Bankruptcy Code section 328(c), courts may deny

compensation to committee counsel if they hold an interest adverse to the estate or are otherwise

not disinterested (other than if such disinterestedness is a result of representing a creditor in the

same class):

                 [T]he court may deny allowance of compensation for services and
                 reimbursement of expenses of a professional person employed under
                 section . . . 1103 of this title if, at any time during such professional person’s
                 employment under section . . . 1103 of this title, such professional person is
                 not a disinterested person, or represents or holds an interest adverse to the
                 interest of the estate with respect to the matter on which such professional
                 person is employed.

11 U.S.C. § 328(c). In light of such restriction on compensation, courts also consider such

adversity or lack of disinterestedness in determining retention:

                 The requirements of § 1103 pursuant to which the application was made in
                 this case are the same as those under § 327 -- the professional must not have
                 an adverse interest and must be disinterested.

In re Pittsburgh Corning Corp., 308 B.R. 716, 733 (Bankr. W.D. Pa. 2004); Application at ¶ 37

(applying section 327(a) standards to its retention application and stating that section 327(a) is

applicable to its retention pursuant to section 328(a)).19

                 39.          Kasowitz has not cited any case law to justify their engagement by the

Committee under these circumstances. The cases they cite either involve consent20 or unrelated

representations, 21 or the non-actual conflict relates to having represented a specific creditor, which

19
   See also, e.g., In re Enron Corp., No. 01-16034, 2002 Bankr. LEXIS 1720, *23 (Bankr. S.D.N.Y. May 23, 2002)
(“Although § 328(c) concerns compensation and not retention, when read in conjunction with § 1103(b), § 328(c) has
been interpreted to impose additional considerations in analyzing the retention of committee professionals
under § 1103(b) by incorporating standards [of disinterestedness].”); In re Caldor, 193 B.R. 165, 170-171 (Bankr.
S.D.N.Y. 1996); 7 Collier on Bankruptcy ¶ 1103.04 (16th 2023) (discussing relationship between sections 1103 and
328).
20
   Application at ¶¶ 32-33 (discussing In re National Financial Enterprises, Inc., 298 B.R. 112 (Bankr. S.D. Ohio
2003) (considering whether conflict was so material that retention should be denied even where debtors’ counsel
supported the retention)).
21
   Application at ¶ 34 (discussing In re JAB Energy Solutions II, LLC, Case No. 21-11226 (Bankr. D. Del. Dec. 7,
2021)).


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is statutorily carved out from requiring denial of a retention application.22 Importantly, what these

cases do reflect is that courts properly take ethical considerations into account.

                 40.           Indeed, because the Bankruptcy Code provisions cited above and the

separate ethical rules are based on the same the principles, courts often look to rules of professional

conduct in recognition that such rules can inform a court’s decision on retention.23 In Bingham

Greenebaum Doll, LLP v. Glenview Health Care Facility, Inc. (In re Glenview Health Care

Facility, Inc.), 620 B.R. 582, 589 (6th Cir. B.A.P. 2020), the court explained:

                 Because § 1103 requires the bankruptcy court’s approval for
                 employment of committee counsel, it is perfectly appropriate for the
                 bankruptcy court to consider state rules governing the professional
                 responsibility of an attorney to the extent adopted by the federal
                 court and put in issue by the parties.

Id. In Century Indem. Co. v. Congoleum Corp. (In re Congoleum Corp.), 426 F.3d 675, 688 (3d

Cir. 2005), the Third Circuit noted that: “In addition to the standards established by professional

ethics, attorneys retained in bankruptcy proceedings are also required to meet the restrictions

imposed by section 327 of the Bankruptcy Code.”24 Here, Kasowitz’s violation of ethical rules

reflects this lack of disinterestedness and the existence of material adversity requiring denial of the

Application.

B.      Kasowitz Must Be Disqualified Based on Ethical Rules Violations

                 41.      Irrespective of the Court’s determination under section 1103, Kasowitz

should be disqualified for violating applicable professional ethics rules. A court’s power to



22
   Application at ¶ 35 (discussing In re Diva Jewelry Design, Inc., 367 B.R. 463, 464, 472-3 (Bankr. S.D.N.Y. 2007);
In re Milford Grp., Inc., 164 B.R. 899 (Bankr. M.D. Pa. 1993); In re Nw. Corp., 346 B.R. 84, 85-88 (D. Del. 2006)).
23
   In re Boy Scouts of Am., 35 F.4th 149, 161 (“a court’s decision on retention may be informed by counsel’s conduct
implicating the Rules of Professional Conduct”) (assessing retention under section 327 rather than 1103).
24
   In In re Boy Scouts of Am., 35 F.4th at 159, the Court explained that in Congoleum, supra, the same facts that
reflected a violation of ethical rules supported a denial of retention under the Bankruptcy Code.


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disqualify an attorney derives “from its inherent authority to supervise the professional conduct of

attorneys appearing before it.” United States v. Miller, 624 F.2d 1198, 1201 (3d Cir. 1980); see

also In re Corn Derivatives Antitrust Litig., 748 F.2d 157, 160 (3d Cir. 1984) (same). It is

axiomatic that “courts have vital interests in protecting the integrity of their judgments,

maintaining public confidence in the integrity of the bar, eliminating conflicts of interest, and

protecting confidential communications between attorneys and their clients.” Commonwealth Ins.

Co. v. Graphix Hot Line, Inc., 808 F. Supp. 1200, 1203 (E.D. Pa. 1992); see also United States v.

Moscony, 927 F.2d 742, 749 (3d Cir. 1991) (same).

             (1) The Application Must be Denied, and Kasowitz Must Be Disqualified, Because
                 Kasowitz Violated Its Duty Not to Reveal or Use Client Confidences Without
                 AFI’s Consent.

                 42.      As described above, Kasowitz has been improperly disclosing and using

AFI’s Client Confidences, and if it remains employed by the Committee, could not help but to

continue to do so. The Bankruptcy Court for the District of Delaware incorporates the ABA Model

Rules of Professional Conduct in its local rules governing professional conduct.25 Bankr. D. Del.

L.R. 9010-1(f); see Int’l Bus. Mach. v. Levin, 579 F.2d 271, 279 n.2 (3d Cir. 1978) (“[T]he conduct

of practitioners before the federal courts must be governed by the rules of those courts.”). Courts

rely on the Model Rules to determine whether attorneys appearing before it have violated ethical

obligations, including those pertaining to conflicts of interests. Maxus Liquidating Trust v. YPF

S.A. (In re Maxus Energy Corp.), 49 F.4th 223, 228 (3d Cir. 2022).

                 43.      Under Model Rules 1.6 and 1.9, made applicable by Local Rule 9010(f),

and the circumstances here, Kasowitz is barred from using or disclosing Client Confidences absent




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AFI’s consent, which AFI has not given. Model Rule 1.6 prohibits the disclosure or use of client

confidences, as follows:

                 (a) A lawyer shall not reveal information relating to the representation of a
                 client unless the client gives informed consent, the disclosure is impliedly
                 authorized in order to carry out the representation or the disclosure is
                 permitted by paragraph (b).
                 (b) A lawyer may reveal information relating to the representation of a client
                 to the extent the lawyer reasonably believes necessary:
                          (1) to prevent reasonably certain death or substantial bodily harm;
                          (2) to prevent the client from committing a crime or fraud that is
                          reasonably certain to result in substantial injury to the financial
                          interests or property of another and in furtherance of which the client
                          has used or is using the lawyer’s services;
                          (3) to prevent, mitigate or rectify substantial injury to the financial
                          interests or property of another that is reasonably certain to result or
                          has resulted from the client's commission of a crime or fraud in
                          furtherance of which the client has used the lawyer’s services;
                          (4) to secure legal advice about the lawyer’s compliance with these
                          Rules;
                          (5) to establish a claim or defense on behalf of the lawyer in a
                          controversy between the lawyer and the client, to establish a defense
                          to a criminal charge or civil claim against the lawyer based upon
                          conduct in which the client was involved, or to respond to
                          allegations in any proceeding concerning the lawyer's representation
                          of the client;
                          (6) to comply with other law or a court order; or
                          (7) to detect and resolve conflicts of interest arising from the
                          lawyer’s change of employment or from changes in the composition
                          or ownership of a firm, but only if the revealed information would
                          not compromise the attorney-client privilege or otherwise prejudice
                          the client.
                 (c) A lawyer shall make reasonable efforts to prevent the inadvertent or
                 unauthorized disclosure of, or unauthorized access to, information relating
                 to the representation of a client.




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MRPC r. 1.6. 26 A lawyer is only excused from the duty of confidentiality under very limited

circumstances set forth under Model Rule 1.6(b) (e.g., prevention of death or bodily harm), not

applicable here.27 Model Rule 1.6(c) requires the lawyer to safeguard client confidences against

inadvertent or unauthorized disclosure.

                  44.       Comments to the Model Rules and applicable case law make clear that

client-lawyer confidentiality is fundamental to the attorney-client relationship because it

contributes to trust and encourages full communication, even when the information may be

sensitive or legally damaging to the client. See, e.g., MRPC r. 1.6, Comment 2; McClure v.

Thompson, 323 F.3d 1233, 1242 (9th Cir. 2003). Moreover, client confidences are not limited to

privileged communications and, instead, embrace all information gained during or relating to the

representation “whatever its source.” MRPC r. 1.6(a); see also MRPC r. 1.6, Comment 3 (“The

confidentiality rule [] applies not only to matters communicated in confidence by the client but

also to all information relating to the representation, whatever its source.”). This Court has

previously recognized that legal conclusions and advice with respect to credit documents (which

were central to Kasowitz’s prepetition representation of AFI) are the type of “client confidences”

protected from disclosure under applicable ethical rules:

         Milbank insists that the only information it received from Stanfield was the content
         of the Credit Documents, which were not proprietary to Stanfield and, in fact, were
         already accessible by the FLC.

         This misses the point. The duty of confidentiality “applies not only to matters
         communicated in confidence by the client but also to all information relating to the

26
   To the extent that New York or Arizona rules of professional conduct may be potentially applicable or govern the
attorney-client relationship based on Kasowitz’s engagement agreement or AFI’s place of incorporation, respectively,
each state has either verbatim or in substance adopted the relevant provisions of the Model Rules of Professional
Conduct so there is no material difference based on choice of law.
27
   The duty of confidentiality is separate from the duty of loyalty, and does not depend on whether the matter is
adverse or creates a conflict of interest. Pursuant to the duty of confidentiality, a lawyer is obligated to protect client
confidences by asserting the attorney-client privilege and other applicable protections in response to a court order or
subpoena for the production of information. See Rule 1.6, Comment 15. The Rule does not turn on how the client
confidences will be used or the type of proceeding for which it is sought.


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        representation, whatever its source.” Model R. Prof’l Conduct 1.6, cmt. [3]
        (emphasis added). Milbank’s own legal conclusions about the Credit Documents
        and advice to Stanfield are particularly confidential.

        Knowledge of this confidential information could materially advance the FLC’s
        position by giving it a head start in assessing the intercreditor issues arising under
        the Credit Documents and revealing precisely what Stanfield perceived to be
        the strengths and weaknesses of its own position. See Webb v. E.I. DuPont de
        Nemours & Co., 811 F. Supp. 158, 162 (D. Del. 1992) (“Adverse use of confidential
        information is not limited to disclosure. It includes knowing . . . what lines of attack
        to abandon and what lines to pursue, what settlements to accept and what offers to
        reject, and innumerable other uses.”). This is particularly relevant here because the
        parties are currently embroiled in intense negotiations about the Debtors’ plan of
        reorganization.

In re Meridian Auto. Systems-Composite Operations, Inc., 340 B.R. 740, 747-48 (Bankr. D. Del.

2006) (emphasis added).

                 45.      Even if AFI is a former client, Kasowitz remains prohibited from using or

disclosing Client Confidences absent AFI’s consent, which AFI has not given, pursuant to Model

Rule 1.9(c). Model Rule 1.9(c) provides:

        (c) A lawyer who has formerly represented a client in a matter or whose present or
        former firm has formerly represented a client in a matter shall not thereafter:

                 (1) use information relating to the representation to the disadvantage of the
                 former client except as these Rules would permit or require with respect to
                 a client, or when the information has become generally known; or

                 (2) reveal information relating to the representation except as these Rules
                 would permit or require with respect to a client.

MPRC r. 1.9(c).

                 46.      As to disclosure of Client Confidences of a former client, as explained in an

opinion of the ABA, an attorney’s duties of confidentiality are the same as for current clients:

              Model Rule 1.9(c)(2) governs the revelation of former client confidential
              information. Under Model Rule 1.9(c)(2), a lawyer who formerly represented
              a client in a matter, or whose present or former firm formerly represented a
              client in a matter, may not reveal information relating to the representation
              except as the Model Rules “would permit or require with respect to a [current]
              client.” Lawyers thus have the same duties not to reveal former client


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                confidences under Model Rule 1.9(c)(2) as they have with regard to current
                clients under Model Rule 1.6.

ABA Comm. on Ethics & Prof’l Responsibility, Formal Op. 479 (2017) (discussing the “generally

known” exception to former-client confidentiality).

                    47.      The violation or potential violation of a lawyer’s duty of confidentiality

makes disqualification appropriate. This Court disqualified a firm from representing corporate

defendants sued by a chapter 7 trustee due to the firm’s prepetition representation of the debtor,

stating:

                    Generally, a lawyer may litigate against a former client only with
                    that client's "informed consent, confirmed in writing." Model Rule
                    1.9. "'Informed consent' denotes the agreement by a person to a
                    proposed course of conduct after the lawyer has communicated
                    adequate information and explanation about the material risks of
                    and reasonably available alternatives [**9] to the proposed course
                    of conduct." Model Rule 1.0(e).

Miller v. Sun Capital Partners (In re IH1 Inc.), 441 B.R. 742, 746 (Bankr. D. Del. 2011).

                    48.      Kasowitz is violating Model Rules 1.6(a) and 1.9(c) by knowingly revealing

and using AFI’s Client Confidences in advising the Committee with respect to DIP Financing and

whether to seek standing to bring claims against RCP and proposes in its Application to continue

to violate such rules.28 Absent informed consent from AFI, Kasowitz is prohibited from discussing

the Client Confidences (including with the Committee or MNAT) or using the Client Confidences

to the disadvantage of the Debtors or for the advantage of Kasowitz, the Committee or other third

parties.

                    49.      Kasowitz acknowledges it proposes to use Client Confidences gained from

its prepetition representation of AFI for the Committee, and promotes the use thereof as efficient:

                    Further, the Committee believes that Kasowitz’s prior adversity to certain
                    non-debtor parties-in-interest, including RCP Credit Opportunities Fund

28
     Additionally, Filusch’s continued involvement similarly confirms that Kasowitz has disclosed Client Confidences.


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                  Loan SPV (Fund III), L.P. and RCP Customized Credit Fund (Fund-IV-A),
                  L.P., (collectively “RCP”), will deliver cost and timing efficiency in
                  evaluating and potentially litigating viable claims for the benefit of
                  unsecured creditors.

Application at ¶ 1.

                  50.      Kasowitz justifies its breach of duties of confidentiality by presumptuously

asserting that the Committee’s interests are aligned with those of the Debtors. However, there is

no “lack of harm” or “lack of adversity” exception to the prohibition against disclosure of Client

Confidences set forth in Model Rules 1.6(a) and 1.9(c)(2).

                  51.      In addition, the Committee’s and Debtors’ interests are not necessarily

aligned.29 The Committee appears to oppose or at least question the DIP Financing and has

asserted that it should bring the claims against the prepetition and proposed DIP lenders (RCP)

rather than the Debtors. The Committee’s questioning of the DIP Financing and desire for control

of these claims represent material adversity with AFI.30 Whether and how the Debtors wish to

pursue claims against RCP is not for Kasowitz to decide, and Kasowitz cannot counsel the

Committee on such matters without AFI’s consent.

             (2) The Committee’s Employment of Kasowitz, to Which AFI Does Not Consent,
                 Violates Model Rule 1.7.

                  52.      To the Debtors’ knowledge, Kasowitz never terminated its representation

of AFI prior to soliciting and accepting the representation of the Committee. Even if the




29
  See Becker v. Bank of N.Y. Mellon Trust Co., N.A., 2016 U.S. Dist. LEXIS 138485, at *92-93 (until settlement is
reached aligning interests of debtors and bondholder creditor in prompt confirmation of a plan, their interests are
potentially adverse as debtor has a duty to maximize assets for the benefit of all creditors).
30
   The notion that the Committee and the Debtors are aligned also is undercut by Kasowitz’s promotion of its “prior
adversity to certain non-debtor parties-in-interest,” Application at ¶ 1, as being a benefit to the Committee. The
benefit of this prior adversity is Kasowitz’s resulting possession of facts, analyses and conclusions concerning the
then adverse parties or related documents. Because those were acquired during its representation of AFI, they are
Client Confidences. Such Client Confidences only have material value to the Committee if the Committee is
adverse to the Debtors’ positions regarding, or as to the handling of, such matters.


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representation is deemed to have subsequently terminated, at least as of the time Kasowitz pitched

its services to the Committee, it was at that time currently conflicted from accepting, let alone

soliciting, such representation under Model Rule 1.7.31 Under Model Rule 1.7:

         (a) A lawyer shall not represent a client if the representation of that client will be
         directly adverse to another client, unless:

                   (1) the lawyer reasonably believes the representation will not adversely
                   affect the relationship with the other client; and

                   (2) each client consents after consultation.

         (b) A lawyer shall not represent a client if the representation of that client may be
         materially limited by the lawyers’ responsibilities to another client or to a third
         person, or by the lawyer’s own interests, unless:

                   (1) the lawyer reasonably believes the representation will not be adversely
                   affected: and

                   (2) the client consents after consultation.

MCPR r. 1.7.

                   53.      As applied to the parties, here, Model Rule 1.7 mandates that without AFI’s

consent, Kasowitz cannot represent the Committee if either (a) Kasowitz’s representation of the


31
   To the extent Kasowitz argues it is not governed by Model Rule 1.7 because the relationship is, at a minimum,
impliedly terminated, there can be no dispute that Kasowitz represented AFI through at least August 24, 2023, the
Petition Date. Importantly, it is not the act of termination that is necessarily material in the “current client” vs. “former
client” distinction in the Model Rules. A focus is the temporality of the adverse engagements. As noted by the Fifth
Circuit:
         In a claim involving concurrent representation, there is an obvious temporal relationship and the
         substantive relationship between the two representations may also tend to be closer. See, e.g., United
         States v. Malpiedi, 62 F.3d 465, 467-68 (2d Cir. 1995); Nealy v. Cabana, 782 F.2d 1362, 1363-65
         (5th Cir. 1986). Similarly, in a case of successive representation, both the temporal and substantive
         relationship between the two representations may be quite remote. See, e.g., Enoch [v. Gramley],
         70 F.3d [1490] at 1495-97 [(7th Cir. 1995)]. Those generalizations may not, however, hold
         universally true. See United States v. Winkle, 722 F.2d 605, 609-12 (10th Cir. 1983); see also Church
         [v. Sullivan], 942 F.2d [1501] at 1511 & n.8 [(10th Cir. 1991)] (rejecting focus upon whether
         multiple representations were concurrent or successive in favor of a focus upon the relationship
         between the multiple representations).
Perillo v. Johnson, 205 F.3d 775, 798 (5th Cir. 2000). It is almost certain that Kasowitz’s representation in matters
related to AFI ran, without a break, from AFI (through at least August 24) to AFI’s former shareholder Bowlby (on
whose behalf Kasowitz sent the 8/24/23 Email attached hereto as Exhibit F) to the Committee shortly after its
appointment. Which representations were concurrent as compared to terminated and then commenced is ambiguous
at best, but evidences that there was no meaningful temporal distinction.


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Committee is directly adverse to the Debtors or (b) if Kasowitz’s representation of the Committee

may be materially limited by Kasowitz’s responsibilities to AFI. Although an ethical wall would

be insufficient here regardless, Kasowitz made no effort to create one to even attempt to prevent

or mitigate imputation of the clear conflict among attorneys at the firm.32 In this case, Filusch, the

very attorney who led the AFI engagement, is already actively representing the Committee! It is

plainly impossible for Filusch to implement an internal screening wall within his brain.33

                  54.      The unusual circumstance faced here of a debtor’s counsel seeking to

become counsel to the chapter 11 committee was considered and rejected in In re South Pacific

Island Airways, 68 B.R. 574, 577 (Bankr. D. Haw. 1986). There, the bankruptcy court found that,

having served as counsel for the debtors in some matters relating to the bankruptcy proceeding,

counsel could not represent the committee. It determined that where a debtor and creditors’

committee have an actual or potential dispute between themselves in the method of operating

debtor’s business, they hold an adverse interest to each other. Id. Another case, Becker v. Bank

of N.Y. Mellon Trust Co., N.A., 2016 U.S. Dist. LEXIS 138485, at *92-93, clarified that sufficiently

problematic adversity can arise even as to matters not directly adverse. There, the district court

noted that actions taken by a bondholder creditor, even if not directly adverse such as through an

objection, can pose a grave conflict if “the timing of the motion alone create[s] the risk of

postponement” of confirmation of a plan or loss of financing. Id.34



32
   Model Rule 1.10(a)(2) provides guidance on how a client’s confidences can be protected by providing screening as
“a mechanism to give effect to the duty of confidentiality, not a tool to undermine it” while also allowing courts the
discretion to disqualify attorneys where it is reasonable under the circumstances of the case before them. Maxus
Liquidating Trust v. YPF S.A. (In re Maxus Energy Corp.), 626 B.R. 249, 256 (Bankr. D. Del. 2021), aff’d, 49 F.4th
223 (3d Cir. 2022).
33
   In Maxus Energy, for example, the bankruptcy court grappled with whether a screening wall/conflict of interest
policy could be effective where the attorney from one firm moved to and married a partner at the firm representing
the adversary.
34
   In Becker v. Bank of N.Y. Mellon Trust Co., N.A., supra, however, the parties had consented to the conflicted
representation; the issue in that case was whether the conflict could be waived by consent.


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                  55.       Here, the Committee and Debtors already have actual disputes between

themselves concerning, inter alia, the nature and amount of documents to which the Committee is

entitled concerning the DIP financing, and potentially as to granting the motion for DIP financing.

Further, although the Debtors are seeking financing from the DIP lenders, Kasowitz already is

advocating for the Committee for pursuit of claims against the proposed DIP lenders (that are

offering what the Debtors view as needed financing). Although Committee scrutiny of the DIP

financing is expected, Kasowitz, as AFI’s counsel or former counsel, holding Client Confidences

on related matters, should not be weighing in or involved in any respect. Certainly, to the extent

Kasowitz’s representation jeopardizes the Debtors’ DIP Financing, such actions are materially

adverse.35

                  56.       Kasowitz at one point suggested that it could resolve its conflict issues by

only acting as special counsel to the Committee in connection with bringing claims against RCP.

First, and most critically, this is where the conflict is most acute. Kasowitz, and, in particular,

Filusch, would be advising the Committee using Client Confidences of AFI on a matter where the

Debtors’ management and the Committee are not presently in agreement. Regardless, Kasowitz,

by its Application, seeks a far broader role, and it already has held itself out as general bankruptcy

counsel to the Committee, has participated in emails concerning general Committee representation

issues, and rejected for the Committee restrictions on the Debtors’ provision of documents to the



35
   Whether or not otherwise effective, any proposed remedies other than denial of the Application and disqualification
of Kasowitz are practically infeasible. Kasowitz early on indicated that it only would take a limited, special counsel
role in investigating or pursuing claims against RCP and presumably related third parties. It then proceeded to ignore
that limitation in conducting itself, involving itself with all aspects of the DIP Financing and the case, and filing the
Application that describes a far broader role for itself, with only vague and ambiguous limitations. Moreover, at times
it seems to argue that adversity only consists of naming a party in a lawsuit. Yet, adversity is not limited to litigation
matters. Material adversity also typically encompasses negotiations and transactional matters and may include
examining a former client in a substantially related matter even where no information from the prior representation is
used. ABA Comm. on Ethics & Prof’l Responsibility, Formal Op. 497 (2021) (discussing the “generally known”
exception to former-client confidentiality).


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Committee. Moreover, Kasowitz’s open hostility to current management of AFI (to whom

Kasowitz did not send a formal termination letter, and with whom Kasowitz failed to even consult

regarding its potential representation of the Committee) creates a substantial concern of the

Debtors that Kasowitz views its loyalty as flowing not to AFI (or the Committee, for that matter)

but to AFI’s former equity holder Mr. Bowlby, on whose behalf Kasowitz, just several weeks ago,

challenged the propriety of the change of control.

                  57.      Without AFI’s consent, Model Rule 1.7 mandates disqualification because,

among other things as more fully set forth above, Kasowitz’s representation is currently and

foreseeably directly adverse to the Debtors.36

             (3) Alternatively, Kasowitz Is Prohibited from Representing the Committee
                 Under Model Rule 1.9(a).

                  58.      Even if AFI was a former client, Kasowitz’s representation of the

Committee also is impermissible due to AFI’s lack of consent thereto, because the two

representations are “substantially related” and Kasowitz’s representation of the Committee is

materially adverse to AFI. Representations adverse to current clients, absent consent, are

prohibited because they implicate an attorney’s duties of loyalty and independent judgment.37


36
   Kasowitz also is disqualified from representing the Committee under Model Rule 1.7(c)(2) as there is plainly a
significant risk that its representation of the Committee may be materially limited by Kasowitz’s duties to not use or
disclose Client Confidences of at least AFI, which duty arises because AFI is a client or former client and there is a
substantial relationship between Kasowitz’s prior representation of AFI and its representation of the Committee, as
discussed herein. Moreover, the Application says nothing about Kasowitz’s ability to handle the investigation,
valuation or pursuit of claims against non-debtor third party Eric Bowlby, AFI’s former Chief Executive Officer,
against whom the estate may well have claims. What is known is that (1) Mr. Bowlby, who is listed in the
Application as a Client Affiliate, is believed to have directed Kasowitz in its representation of AFI, (2) the Debtors
are unaware of Mr. Bowlby having had separate representation from AFI during Kasowitz’s prepetition negotiation
of the Settlement Agreement and related documents, including Mr. Bowlby’s pledge and guarantee agreements, and
(3) Kasowitz sent the August 24, 2023 email challenging the change in control, for which Mr. Bowlby would appear
to be the primary beneficiary. If Kasowitz also were limited by duties to Bowlby, Model Rule 1.7(c)(2) might
require disqualification for that additional reason. Moreover, if so limited as to matters involving its prior
representation of AFI and matters involving Mr. Bowlby, any purpose to its retention as special counsel becomes
unclear.
37
   See MRPC, r.1.7, comment 6; Bd. of Trs. of Leland Stanford Junior Univ. v. Yuzhen Zhang, __ F.Supp.3d __, No.
19-cv-02904, 2023 U.S. Dist. LEXIS 90086, *9 (N.D. Cal. March 6, 2023) (“In the case of concurrent
adverse representation, ‘a more stringent per se rule of disqualification applies’ because it involves a breach of


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Representations substantially related to the representation of a former client, absent consent, are

prohibited because they implicate a lawyer’s duty to preserve the confidentiality of information

relating to the representation, whatever its source, and to maintain public confidence in the

integrity of the bar and the right of a client to expect the loyalty of his attorney in the matter for

which the attorney is retained.

                  59.      Model Rule 1.9(a), which addresses duties of lawyers to former clients and

provides that, absent the consent of a former client, “[a] lawyer who has formerly represented a

client in a matter shall not thereafter represent another person in the same or a substantially similar

matter in which that person’s interests are materially adverse to the interests of the former client.”

MRPC r. 1.9(a).38

                  60.      Model Rule 1.9 “is a prophylactic rule to prevent even the potential that a

former client’s confidences and secrets may be used against him. Without such a rule, clients may

be reluctant to confide completely in their attorneys.” In re Corn Derivatives Antitrust Litig., 748

F.2d at 162. “[T]he rule is important for the maintenance of public confidence in the integrity of

the bar.” Id. Therefore, “‘any doubts which the court may have regarding the appropriateness of

disqualification should be resolved in favor of disqualifying the former counsel and, thus,

preserving the confidences of the former client.’” Enzo Life Scis., Inc. v. Adipogen Corp., No. 11-

cv-00088, 2013 U.S. Dist. LEXIS 164939, *6, 2013 WL 6138791 (D. Del. Nov. 20, 2013) (quoting

INA Underwriters Ins. Co. v. Nalibotsky, 594 F. Supp. 1199, 1207 (E.D. Pa. 1984) (not a Model

Rules case)). Assuming that the relationship between the Kasowitz and AFI was properly




a duty of loyalty.”); Becker v. Bank of N.Y. Mellon Trust Co., N.A., No. 11-6460, 2016 U.S. Dist. LEXIS 138485, *96,
2016 WL 5816075 (E.D. Pa. Oct. 5, 2016) (“If a lawyer’s representation of a client involves a conflict of interest, the
lawyer's loyalty and independent judgment are called into question”).
38
   Under Rule 1.10, such conflicts are imputed to a lawyer’s entire firm. As a result, a firm cannot represent a client
if one of its lawyers would be unable to do so under Rule 1.9. MRPC r. 1.10(a).


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terminated before any conflict existed, and only Model Rule 1.9 applies, Kasowitz must be

disqualified under Model Rule 1.9(a) because its representation of the Committee is substantially

related to the representation of AFI and the two clients have materially adverse interests relating

thereto.39

                        a. The Committee Work Is Substantially Related.

                  61.      Disqualification under Model Rule 1.9(a) requires an analysis of whether

the matter is “substantially related” to the matter involved in the former representation. Courts

have routinely considered three factors when performing the substantial relationship analysis: 1)

the nature and scope of the prior representation; 2) the nature and scope of the current

representation; and, 3) during the prior representation, the possibility that the client disclosed

confidences to his attorney which could be relevant to the current action and detrimental to the

former client in the course of the current litigation. See, e.g., Talecris Biotherapeutics, Inc. v.

Baxter Int’l, Inc., 491 F. Supp. 2d 510, 514 (D. Del. 2007); Commonwealth Ins. Co. v. Graphix

Hot Line, Inc., 808 F. Supp. 1200, 1204 (E.D. Pa. 1992) (citing Richardson v. Hamilton Int’l

Corp., 469 F.2d 1382, 1385 (3d Cir. 1972), cert. denied, 411 U.S. 986, 93 S. Ct. 2271, 36 L. Ed.

2d 964 (1973). Each of these three factors supports the conclusion that Kasowitz’s work for the

Committee is substantially related to its representation of AFI.

                  62.      As it relates to the third factor for determining if two matters are

“substantially related,” the Court’s concern is, among other things, for the preservation of the

confidences and secrets of the former client. American Roller Co. v. Budinger, 513 F.2d 982 (3d

Cir. 1975). Yet, it is the possibility of the attorney having Client Confidences that matters rather

than any need to prove what actual Client Confidences the attorney may have. As one court


39
  Independently, Kasowitz cannot use or reveal information relating to its representation of AFI (not limited to
confidential information) against AFI under Rule 1.9(c) as discussed above.


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explains: “[t]he question is not whether the attorney actually acquired confidential information,

but whether confidential information that may have been gained in the first representation [may

be] used to the detriment of the former client in the subsequent action.” Greenwood Land Co. v.

Omnicare, Inc., No. 09-cv-686, 2009 U.S. Dist. LEXIS 74374, *15 (W.D. Pa. Aug. 20,

2009) (internal quotation marks and citation omitted). This Court has similarly viewed this

standard:

                 Because the Court finds that the matters in this adversary proceeding
                 are substantially related to the matters on which Kirkland had
                 previously represented Debtors, it is not necessary for Trustee to
                 identify any confidential information Kirkland obtained from this
                 prior representation. Disqualification, therefore, is appropriate
                 unless Debtors consented or Trustee has waived the grounds for
                 disqualification.


Miller v. Sun Capital Partners (In re IH1 Inc.), 441 B.R. at 746.

                 63.      Nature and Scope of Prior Representation. As set forth in greater detail

above, although the December 2022 retention agreement of Kasowitz indicates that its

representation was limited to analyzing potential litigation claims against RCP and attempting to

negotiate a resolution thereof (and Kasowitz appears to have investigated borrowing and related

financial information), Kasowitz did not so limit its representation. By example, Kasowitz advised

AFI regarding the prepetition loans and May 2023 workout. Thereafter, it also appears to have

advised AFI on more general financing matters.

                 64.      Nature and Scope of Current Representation. Kasowitz initially held itself

out and acted as general bankruptcy counsel to the Committee. This included Kasowitz sending

email communications concerning general Committee representation issues and the Committee’s

rejection of restrictions on the Debtors’ provision of documents, and Kasowitz advising Phoenix



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and AFI, its client, that they “cannot dictate what the UCC [their new client] does or who they

hire.”40 In a wholly inadequate attempt to circumvent conflicts, Kasowitz and the Committee

subsequently stated that Kasowitz’s role would be limited to acting as special litigation counsel to

the Committee to investigate and determine whether the estate has viable claims against RCP and

other parties. Although, regardless, the Application provides for a much broader role for Kasowitz,

this proposed more limited scope is unquestionably substantially related to Kasowsitz’s prior

representation of AFI, which was primarily for the same purpose.

                      65.   Possibility of Disclosure of Information. Here, there does not just exist the

possibility of disclosure of Client Confidences. Indeed, as set forth above, Kasowitz is almost

certainly disclosing and using Client Confidences gained from its prepetition representation of

AFI. Although this disclosure and use are independent grounds for disqualification based on duties

of preserving client information as confidential, it also further establishes the “substantial

relationship” of the prior and current matters. But, regardless of whether there is evidence of the

disclosure of Client Confidences, in determining whether a “substantial relationship” exists, “the

court need not, nor should it, inquire into whether an attorney actually acquired confidential

information during the prior representation related to the current representation. Rather, the court’s

primary concern is whether confidential information that might have been gained in the first

representation may be used to the detriment of the former client in the subsequent action.” See

Integrated Health Servs. of Cliff Manor, Inc. v. THCI, Co. LLC, 327 B.R. 200, 206 (D. Del. 2005)

(emphasis added).



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     See Exhibit H.


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                 66.      All three factors lead to the inescapable conclusion that the matter in which

Kasowitz represented AFI is substantially related to the matters in which Kasowitz represents and

proposes to represent the Committee, thus requiring disqualification of Kasowitz because of the

significant, potential and actual adversity between the Committee and the Debtors including with

respect to Kasowitz’s proposed role as special litigation counsel to investigate and pursue claims

of the Debtors and their estate against RCP and other parties.

                       b. The Committee’s Interests Are Materially Adverse to the Debtors.

                 67.      There does not appear to be a dispute that Kasowitz’s representation of the

Committee, generally, would constitute a representation of an interest materially adverse to the

Debtors. See In re South Pacific Island Airways, 68 B.R. at 577. Indeed, Kasowitz has attempted

to cleanse its conflict by stating that the firm would not serve as counsel to the Committee in any

manner adverse to the Debtors, and would limit their representation to being “special litigation

counsel to investigate and determine whether the estate has viable claims against [the Proposed

DIP Lenders] or other non-debtors in these Chapter 11 Cases.” Committee Statement, ¶11.

                 68.      Such a proposed course of action as special litigation counsel only

exacerbates the problem. Even if the Application and Kasowitz’s conduct to date did not reflect

that it is pursuing a much broader role in its representation of the Committee, this purportedly

limited role that Kasowitz describes would involve Kasowitz representing the Committee on

essentially the very same matter that was a material if not central aspect of its prepetition

representation of AFI. Moreover, despite the prohibitions of Model Rules 1.6 and 1.9(c)(2) that

have no exceptions to their confidentiality rules for aligned interests, this purportedly limited role

would involve Kasowitz disclosing and using Client Confidences of AFI with respect to such

matter to the benefit of the Committee and against the interests of AFI. AFI’s current management


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may or may not by the time of the final hearing on DIP financing have a view of these alleged

lender liability claims differing from that of the Committee. In the meantime, the Debtors’ current

management has clear disagreements with the Committee regarding how these claims should be

dealt with. The Committee’s premature and aggressive assertion of claims that belong to the estate

may jeopardize the DIP Financing, which financing the Debtors believe is in the best interests of

their estates.

         69.      Regardless, it is clear that Kasowitz is not limiting its representation to special

litigation counsel against RCP. Kasowitz sought to represent the Committee on a general basis

[see 9/21 Email, Exh. C] and has been representing the Committee on matters far broader than

investigating or bringing claims against RCP. See, supra, at ¶ 27.41 Moreover, the Application of

Kasowitz provides for an extremely broad role for Kasowitz subject only to a limiting phrase

appearing differently in the body of the Application (p. 9) and in Matthew Stein’s declaration (p.

25), that “Kasowitz will not take any action that is adverse to the Debtors or their respective

estates,” or that “Kasowitz will limit its work that concerns ore (sic) relates to litigation against

non-Debtor third parties,” leaving to Kasowitz to self-police one, the other or both of these vague

standards.

                  70.      Considering the early stage of this case, the relevant considerations of

preserving the integrity of legal proceedings and preventing unfair prejudice noted by the Third

Circuit in Corn Derivatives overwhelmingly weighs in favor of disqualification. Thus, under

Model Rule 1.9(a), Kasowitz must be disqualified because it is a “lawyer who has formerly




41
  Kasowitz also has attempted to cleanse its conflict by arguing that the Debtors are no longer operating a business
and liquidation of the estate’s assets must mean that the Committee’s interests necessarily align with those of the
Debtor in maximizing value and minimizing costs. This case remains, however, a chapter 11, in which the Debtors
and Committee may differ on the best course toward the maximization of estate values. In that regard, the Debtors
retain the right to protect their Client Confidences from release without their consent.


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represented a client in a matter” and, without AFI’s consent, is representing “another person in the

same or a substantially related matter in which that person's interests are materially adverse to the

interests of the former client.”

                                              Conclusion

                 71.      For all of the foregoing reasons, the Application should be denied and the

Motion granted disqualifying Kasowitz and affording the other relief requested herein.

                                                 Notice

                 72.      The Debtors will provide notice of this Motion to: (a) the Office of the U.S.

Trustee for the District of Delaware; (b) the holders of the 30 largest unsecured claims against the

Debtors (on a consolidated basis); (c) counsel to the lenders under the Debtors’ prepetition credit

facility; (d) the Committee; and (e) any party that requests service pursuant to Bankruptcy Rule

2002.

                                           No Prior Request

                 73.      No prior request for the relief sought in this Motion has been made to this

Court or any other Court.

                 WHEREFORE, the Debtors respectfully request entry of an order: (a) denying the

Application; (b) disqualifying Kasowitz from serving as counsel to the Committee; (c) directing

Kasowitz to immediately turn over to the Debtors all files and records relating to its representation

of the Debtors, including, without limitation, emails and, particularly, emails with the former

owners or their separate counsel, the Committee, or MNAT; and (d) granting the Debtor such other

and further relief as the Court deems just and proper.




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Dated: October 11, 2023                PACHULSKI STANG ZIEHL & JONES LLP


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